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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS

AUSTIN DIVISION
UMG RECORDINGS, INC., et al.,

§
Plaintirrs, §

VS § Civil Action No. l:lS-mc-006l3-LY
' §
GRANDE COMMUNICATIONS §
NETWORKS LLC and PATRIOT MEDIA §
CONSULTING, LLC, §
§

Defendants.
DECLARATION OF VICTORIA SHECKLER IN SUPPORT OF
NON-PARTY RECORDING INDUSTRY ASSOCIATION OF AMERICA’S
MOTION FOR PROTECTIVE ORDER REGARDING
DEFENDANT’S SUBPOENA FOR RULE 30(b)(6) DEPOSITION

I, Victoria Sheckler, declare as follows:

l. I am Deputy General Counsel for the Recording Industry Association of America
(“RIAA”). l am an attorney licensed to practice law in the District of Columbia. I submit this
declaration in support of RIAA’s Motion for a Protective Order Regarding Defendant’s Subpoena
for a Rule 30(b)(6) Deposition. l have personal knowledge of the facts set forth below andf or have
learned of these facts as a result of my position and responsibilities at RIAA. If called upon and
sworn as a witness, I could and would testify competently as to the matters set forth herein.

2. RIAA is the recording industry’s U.S. trade association RIAA’s members create
and distribute the majority of recorded music in the United States, and own some of the most
valuable and well-known copyrighted works in the world. RIAA supports and promotes the
creative and financial vitality of the major record companies, including by protecting their

intellectual property rights. Among other things, RIAA provides legal counsel to and works with

the record companies to bring copyright infringement lawsuits.

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3. In this lawsuit, RIAA’s in-house lawyers have served as counsel for Plaintiffs,
helping coordinate Plaintiffs’ litigation efforts, providing legal advice, and discussing legal
strategy, from the earliest planning stages through the conduct of the litigation.

4. Rightscorp is a company that has developed a system that monitors Peer-to-Peer
file-sharing networks to detect illegal downloads of copyrighted works, and sends notices of the
copyright infringement it detects to internet service providers such as Grande. ln 2016, Rightscorp
contacted RIAA regarding potential litigation arising from evidence Rightscorp had collected
concerning Grande’s and its subscribers’ infringement of Plaintiffs’ copyrighted sound recordings
RIAA entered into a Litigation Support and Consulting Agreement with Rightscorp in 2016 related
to Plaintiffs’ intention to file this lawsuit for copyright infringement against Grande. Under the
agreement, Rightscorp agreed to provide data related to infringement on Grande’s network and to
provide various litigation support services. The works in suit listed in EXhibit A to the Complaint
are drawn from the Rightscorp data. Pursuant to the consulting agreement, Rightcorp has engaged
in confidential communications with RIAA.

5. Since 2016, the communications among RIAA, Plaintiffs, and Rightscorp related
to Grande (and Patriot) have been for the purpose of developing litigation strategies and
exchanging information to assist attorneys at the RIAA, and Plaintiffs’ in-house and outside
counsel, in rendering legal advice to RIAA and to Plaintiffs (as RIAA’s members), concerning this
lawsuit. These communications have involved RIAA’s attomeys, outside counsel, Plaintiffs’ in-
house counsel, Rightscorp’s counsel, andf or Rightscorp, RIAA or Plaintiff employees acting at the
direction of counsel. These communcations have been confidential and have not been shared with
third parties. These communications were for the purpose of facilitating the provision of legal

services and/or legal advice to Plaintiffs in connection with this lawsuit.

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I declare under penalty of perjury that the foregoing is true and correct to the best of my
knowledge and belief.
EXecuted this 31St day of July, 2018, in Washington, D.C.

fs/ Victorz`a Sheckler

